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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                1:17-20275-CR-UNGAR0
                                                                FILED by         D.C.
 UNITED STATES OF AMERICA
          Flaintiff                                                  SEF 25 2218
                                                                 s'
                                                                  rEvEs M LARIMORE
                                                                  CLERK U-s DIsT.c'r
                                                                  s.D.ofFLA.- MIAMI
 VS




 KEVIN C FUSCO
       Defendant


                  MOTION F0R RELIEF PdRSUANT T0 j 3742 of Tïtle 18

 APFEARS now, Defendant FUSCO, request this court, notify the 11th Circubt
 court of appeals, of his intent to appeal his sentence as unlawful, in
 accordance with subsection (a)(1) of û 3742 of Title 18.


                 RELIEF HARRANTED DUE T0 JURISDICTIONAL VIOLATIONS

As such, Defendant FUSCO is protected from any ''waiver'' of Jurisdictional
 protections, since by law, jurisdiction (subject matter and Article 111) can
never be waived.



                                 RELIEF REkUESTED

Dqfendant request this court notqfy the 11th Circuit court of appeals, of his
jntention to appeal his judgment and sentence as unlawful, pursuant to the
statute at large.

Submitted this 20th day of September 2018

      e


Kevin Fusco
Maxwell AFB FPC
Hontgomery, AL 36112
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